     Case: 1:17-cv-00981 Document #: 16 Filed: 04/22/17 Page 1 of 1 PageID #:57

                     UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                Eastern Division

Sportbrain Holdings LLC
                                   Plaintiff,
v.                                                    Case No.: 1:17−cv−00981
                                                      Honorable Edmond E. Chang
HP Inc.
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Saturday, April 22, 2017:


       MINUTE entry before the Honorable Edmond E. Chang: Plaintiff has now
confirmed Defendant's agreement to the motion to stay [11]. The stay motion [11] is
granted and is effectuated, as suggested by Plaintiff, R. 11 at 4, by terminating the case
without prejudice to reinstating it after the conclusion of the PTAB proceedings, including
any appeals to the Federal Circuit and the Supreme Court. The status hearing of
04/27/2017 is vacated. Civil case terminated without prejudice.Emailed notice(slb, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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